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Case 8:16-Cr-00095-AG ` ' Document 17

Filed 07/19/16 Page 1 of 2 Page |D #:41

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UNITED STATES DISTRICT COURT

FOR THE CENTRAL DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA,
Plaintiff,
v.

RANDALL J. JETT,
aka “Randy Jett,”

Defendant.

SA cR N<cR 16 00 95

l N F O R M A T l O N

[42 U.S.C. § 1320a-7b(b)(2)(A):
Illegal Remunerations for Health
Care Referrals]

 

 

 

 

The United States Attorney charges:

[42 U.S.C.

§ l320a-7b(b)(2)(A)]

On or about August 28, 2014, in Orange County, within the

Central DiStrict of California, defendant RANDALL J. JETT, also known

as “Randy Jett,” knowingly and willfully offered to pay remuneration,

that iS, money, to Dr. M.R., DPM, to refer an individual, namely,

P.P., to a person for the furnishing, or arranging for the

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Case 8:16-Cr-00095-AG Document 17 Filed 07/19/16 Page 2 of 2 Page |D #:42

furnishing, of an item and Service for which payment may be made in
whole and in part under a federal health care program, namely,

Tricare.

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EILEEN M. DECKER
United States Attorney

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LAWRENCE S. MIDDLETON
ASSiStant United States Attorney
Chief, Criminal Division

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Chief, Major Frauds Section

STEPHEN A. CAZARES
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